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                                            UNITED STATHS DISTRICT COURT
                                             FOR THE DISTRICT 0F OREGON

    UNITED STATES OF AMERICA                                                                                   ORDER SETTING CONDITIONS
                       V.                                                                                                    OF RELEASE

    Ezra Meyers                                                                                                 Case Number: 3 :20CR00272-HZ-0 I


IT IS ORDERED that the release of the defendant is subject to the following conditions:

(1)        The defendant shall not commit any offense in violation offederal, state or local law while on release in this case.

(2)        The defendant must cooperate in the collection ofa DNA sample if the collection is authorized by 42 U.S.C § 14135a.

(3)        The defendant shall immediately advise the court through pretrial services or defense counsel in writing of any change in
          address and telephone number.

(4)       The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as directed.
          The defendant shall next appear as directed by U.S. District Court.

                                                          Additional Conditions of Release

lT IS FURTHER ORDERED that the defendant be released provided that the defendant:
     •  The defendant shall not enter within a five-block radius of the u.S. Courthouse located at looo sw 3'd Ave portland, Oregon
        97204, unless on official court business.
     •  Defendant may not attend any other protests, rallies, assemblies or public gatherings in the state of oregon.



                                                         Advice of Penalties and Sanctions

TO THE DEFENDANT:

          YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest. a revocation of
release. an order of detention, forfeiture of bond, and a prosecution for contempt of court and could result in a term of imprisonment, a fine` or both.

          The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of not more than ten
years. if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor.   This sentence shall be in addition
to any other sentence.

          Federal law makes it a crime punishable by up to ten years of imprisonment. and a $250,000 fine or both to intimidate or attempt to intimidate
a witness, victim. juror, informant or officer of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten years of
imprisonment. a $250,000 fine or both. to tamper with a witness, victim or informant, or to retaliate against a witness, victim or informant or to threaten
or attempt to do so.

          If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may be
prosecuted for failing to appear or surrender and additional punishment may be imposed.       If you are convicted of:

(I)        an offense punishable by death, life imprisonment, or imprisonment for a term offifteen years or more, you shall be fined not more than
          $250,000 or imprisoned for no more than ten years, or both;

(2)        an offense punishable by imprisonment for a term offive years or more, but less than fifteen years, you shall be fined not more than $250.000
          or imprisoned for no more than five years, or both;

(3)        any other felony, you shall be fined not more than $250,000 or imprisoned no more than two years. or both;

(4)        a misdemeanor, you shall be fined not more than sloo,000 or imprisoned not more than one year, or both;

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           A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.   In addition. a
failure to appear may result in the forfeiture of any bond posted.

                                                           Acknowledgment of Defendant

           I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                                              City, State & Zip

Special Needs Finding:
Based upon the above conditions, including the conditions relating to:
I       Alcohol detection
I        Drug detection
I        Computer monitoring
The Court is reasonably assured the defendant will appear as directed and not pose a danger to the community or any other person.

 Directions to the United States Marshal
"       The defendant is ORDERED released after processing.
 I       The defendant is ORDERED temporarily released.
I        The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk, Pretrial Services or
         judicial officer that the defendant has posted bond and/or complied with all other conditions for release including space
         availability at a community corrections center or residential treatment facility. If still in custody, the defendant shall be
          produced before the duty Magistrate Judge on                                                   at




                                                                                                    Signature of Judicial Officer
                                                                                                          John V. Acosta
                                                                                                        U.S. Magistrate Judge

                                                                                                 Name and Title of Judicial Officer




cc:       Defendant
          US Attorney
          US Marshal
          Pretrial Services




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                                                        UNITED STATES DISTRICT COURT
                                                         FOR THE DISTRICT 0F OREGON

     L..`iTED S'rA'rES oF AM£RIC,.\                                                                                                             ORDER SE-rri`'G CO`.I)rl`IO`.S
                              \,.                                                                                                                                                OF RELEASE

     Ezra \1eyers                                                                                                                                C`as¢ `umbcr: 3:20CR00:72-HZ-Ol


TT [S ORDERED tllat the I.e]ease c`f the di`f.c`ndailt is subject to thi` f`ol!ou ing corldi{ions:


(I)            The defendant shall not c`inimi[ aii}.. offense in vii`lation (>ft`ccleraL state or local !a\\ \\hile oTi rele.ase in this case.


(2}            The defendant must cooperate in the collection ofa D`A s<imple if the collection is au{holized b} +: L..S.C § 14} 358.


(3)            The defendant shall immecliatel}' ad\.'ise the Court through pretrial ser\'ices or defense cou!isel in \\.rjting of <1i`}'` chaiige in
             address and telephone number.


(i)          The defendant shall appi'ar at all proi`cedings as requiri`d and shall siirrender for se,r\ ice of a!`~\ sentence imposed as directed.
             The defendant shall iiext appear as directed b}' I;.S, District Court.

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lT ]S Fl'RTHF,R ORDERED that tile defendant be released provided that the defendant:
        •     The defendant shall not cntcr `\ithin a fi\'e-b!!ock radius ofthc l'.S. Coi!rthoi.isc located at 1000 S\\'. 3!`` Ate Pcr[!and. C)regc)}i
             97204. un]€ss on ol.ficittl coitrt business.
        •    Defendar]t ma} r`clt attend an}.` other protests. rallies, assemblies or public ga{he.rings ill the stati` ol`Ori.g|`n.



                                                                          Ad`.ice of Penalties ,1iid Sal`ctions

TO THE DEFE`.DA`T:

             YOU ARE AD\''lsED 0F Tl.IE FOLLO\\'l`G PEZ`.ALTIES A`.D SA\.CTlo`'S:

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rc}€ase. {o appear as directed. and to surrender l`or ser`'icc ot.3n}` sentence impos€d.           I am a\\.ale of`{hg pemiiti€s and sanctions set I.i)rt!i abo\.c.




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Special *'eeds Firiding:
B.1sed upon the abo`'e conditions. including the conditions relating to:
i       A lccho] detection
I         Drug detection
I         Computer monitoring
The Court is reaso[iabl}' assured the defendant will appear as directed and not pL`sc a daliger {o the commuliit}. or ail} other p..rson.

Direed`6ns to the L'nited States }'(arshal
?E`+'        The defendant is ORDERED released after pi.ocessing.
I         The del-endant is ORDERED tempoi.aril}' re[easetl.
I         The United States Marshal is ORDERED {o keep the defend¢ant in custod}' until ni)tifi€d b}' tile clei.k, Preiria! Scr\'i[es or
          judicial officer that the defcndar}t {ias posted bond and}`or cctmplied with all other conditions foi. release inc!tlding s!}ace
           availabilit}' at a commtinity' correctio[`s ceni€r Qr residelitial treatmgn{ f`acilit}/..                     If Still in ciistod}J. the defendant shall be
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